Case: 4:17-cr-00131-DMB-JMV Doc #: 55 Filed: 04/17/18 1 of 17 PagelD #: 327

 

301 WEST COMMERCE STREET
#13

ABERDEEN, MS 39730
TELEPHONE: (662) 369-4952
FACSMILE: (662) 369-9569

THE UNITED STATES DISTRICT COURT
OFFICE OF THE CLERK

NORTHERN DISTRICT OF MISSISSIPPI
DAVID CREWS, CLERK

911 JACKSON AVENUE E. 305 MAIN STREET

SUITE 369 ROOM 329

OXFORD, MS 38655 GREENVILLE, MS 38701
TELEPHONE: (662) 234-1971 TELEPHONE: (662) 234-1971

FACSMILE: (662) 236-5210

 

  
  
 

pleadings from

NOTICE

pecewed

. the Clerk's Office of the Northern District of Mississippi actepted

/ Vi Ory El bey . These pleadings will be reviewed and

processed. Following review, the filer will be notified of the status of his or her pleadings.

David Crews, Clerk

 

RECEIVED
APR 16 REC'D

D STATES DISTRICT COURT
BORTHERN DISTRICT OF KEZSIBGRA

 

 

 

Received - Clerk's Office Use Only
Case: 4:17-cr-00131-DMB-JMV Doc #: 55 Filed: 04/17/18 2 of 17 PagelD #: 328

Date 4/9/2018 RECE| VED
APR 16 2018
United States District Court of Northern UNITED STATES OiSTaIC
NORT! T COURT
District of Mississippi MERN DISTRICT OF uississippy

911 Jackson Avenue East
Oxford, Mississippi 38655

Omari Ibrahim El Bey

Authorized Rep. For WENDELL BRANDON

[16] West Georgia Avenue

Memphis Tennessee state Republic [38103]
Non- Resident -Non- Domestic/ Non — Assumpsit

RE: Enclosed document

These Forms 1099A and 1099 B copy enclosed and notice that the IRS received filing of such
From. Copy B of 1099A and 1099B are enclosed.

rae Mbeki? Key arrlaial th WEN DELL BRANDOK
Case: 4:17-cr-00131-DMB-JMYV Roce ose Hag Odd, 7/18 3 of 17 PagelD #: 329

 

LENDER'S name, street address, city or town, state or province, country, ZIP or|
foreign postal code, and oem no. =i
1. 2 \ —
Web SEL ISRAN BoA\
\o { (te, a Gersk Chee ETL en,
RQ W b. AU a

DM, &¥ PS Ph vay ‘Tenn €ss-ee.

 

OMB No. 1545-0877

2017

Form 1099-A

 

Acquisition or
Abandonment of
Secured Property

 

 

LENDER'S federal dentificats ion numbet BORROWER'S identification number

S145 2833

 

1 Date of lender's acquisition or
knowledge of abandonment

2 Balance of principal
outstanding

$

Copy B

For Borrower
This is important tax

 

Sis :

\SS (SS! Pr \
Street address (including apt. no.)
\ car Avenue.

City or town, state or province, ie and ZIP or foreign postal code

ax Lerdl Mi = '

sare ra re Nite ed SF St se
LO 1 Sr freebie Sea i f Sthecn:
a) /

 

halen

3

 

4 Fair market value of property

gO, COD. 04

information and is being
furnished to the Internal
Revenue Service. If you
are required to file a
return, a negligence

 

5 If checked, the borrower was personally liable for repayment

of the debt

penalty or other
sanction may be

> (H

 

 

 

 

6 Description of property

imposed on you if
taxable income results

 

 

; c aia ae a fps Le ; 5

Sse N26) 1 Keir A\O ANC Ra} nD Hee eencton

Account number (see instructions) \ \ aL An ce erermipes
4 : that it has not been

(4 ty Sot Lb- 3 is io reported.
Form 1099-A (keep for your records) www.irs.gov/form1099a Department of the Treasury - Internal Revenue Service

 

(_] CORRECTED (if checked)

LENDER'S name, street address, city or town, state or province, country, ZIP or
foreign postal code, and telephone no. "

OMB No, 1545-0877

2017

Form 1099-A

 

Acquisition or
Abandonment of

Secured Property

 

 

LENDER'S federal identification number BORROWER'S identification number

 

1 Date of lender's acquisition or
knowledge of abandonment

2 Balance of principal
outstanding

$

Copy B

For Borrower
This is important tax

 

BORROWER’S name

$

 

| 4 Fair market value of property

information and is being
furnished to the Internal
Revenue Service. If you
are required to file a
return, a negligence

 

Street address (including apt. no.)

5 If checked, the borrower was personally liable for repayment

of the debt

penaity or other
sanction may be

poli

 

City or town, state or'province, country, and ZIP or foreign postal code

 

Account number (see instructions)

 

 

6 Description of property

imposed on you if
taxable income results
from this transaction
and the IRS determines
that it has not been
reported.

 

 

Form 1099-A (keep for your records)

www.irs.gov/form1099a

[_] CORRECTED (if checked)

Department of the Treasury -

 

LENDER'S name, street address, city or town, state or province, country, ZIP or
foreign postal code, and telephone no.

OMB No. 1545-0877

20417

 

Internal Revenue Service

Acquisition or
Abandonment of
Secured Property

 

 

LENDER'S federal identification number BORROWER'S identification number

 

see < Form 1099-A
1 Date of lender's acquisition or | 2 Balance of principal Copy B
knowledge of abandonment outstanding

$

For Borrower
This is important tax

 

BORROWER'S name

Street address (including apt. no.)

Gity or town, state or province, country, and ZIP or foreign postal code

er

$

 

| 4 Fair market value of property

information and is being
furnished to the Internal
Revenue Service. If you
are required to file a
return, a negligence

 

5 If checked, the borrower was personally liable for repayment

of the debt

penalty or other
sanction may be

mii]

 

 

Account number (see instructions)

 

 

6 Description of property

imposed on you if
taxable income results
from this transaction
and the IRS determines
that it has not been

_ reported.

 

 

Form 1099-A (keep for your records)

www.irs.gov/form1099a

Department of the Treasury - Internal Revenue Service
Case: 4:17-cr-00131-DMB-JMV. Doc Hf °8 5 Filed! 04/17/18 4 of wv PagelD . $30

Instructions for Borrower

“Certain .lenders who acquire an interest in property that was security for a loan
- or who have reason to know that such-property has been abandoned must

provide you with this statement. You ‘may-have reportable income or loss
because:of such acquisition or abandonment. Gain or loss from an acquisition
generally is measured by the difference between your adjusted basis in the

.- property and the.amount.of your debt canceled in exchange for the property, Or, .

if greater, the sale proceeds. If you abandoned the property, you may-have

income from the discharge of indebtedness in the amount of the unpaid balance
of your canceled debt. The tax consequences of abandoning property depend ;

on whether or not you were personally liable for the debt. Lossésion acqu
or abandonments of property held for personal use are not deductible, Sep Pull.

- 4681 for information about your tax consequences.

‘Property means any real property (such as a personal residence); any

Intangible property; and tangible, personal property t that is held for in investment or

used in atrade or business. - -
Ifyou borrowed moriey on this property with someone 2 else, @ach of you ©

~ ‘should recéive this staterient.

Borrower's taxpayer idehtification number. For your protection, this forin may
“show only the last four dig ts pf your social security number (SSN), individual
(TIN), adoption taxpayer identification number, 1 tee
- -(ATIN), or employer identification number (EIN). However, the issuerhas’) {+ +

taxpayer identification num
reported your complete identification number to the IRS.

_Account number. May show an account or other unique number the lender_

assigned to distinguish your account.

Instructions for Borrower.
Certaln lenders:who acquire an interest in property that was security for a loan

. or. who have reason to know that such property has been abandoned must

provide you with this: ‘statement. You may: have reportable income or loss

- because of such acquisition‘or abandonment: Gain or loss from an acquisition
" generally is measured by the difference between your adjusted basis in the

.. property and the amount.of your debt canceled in exchange for.the property, or,
. if greater, the sale proceeds. If you abandoned the property, you may have

. incqme from the discharge of indebtedness in the amount of the unpaid balance:

~~ of your canceled debt.-The tax consequences of abandoning property depend

-oh whether or not you were personally liable for the debt. Losses on acquisitions
“or abandonments of property held for personal use ate not deductible. See Pub.”

14681 for Information about your tax conséquences.

Property means any rea! property (such as a personal residence); any

intangible property; and tangible personal property that is ‘held for investment ¢ or

used in &'trade or business.

If you borrowed moriey on this property with soméans else, each of you -
should recelve this statement. a

* “Borrower's taxpayer identification number. For your protection, this form may

’ Show only the last four digits of your social security number (SSN), Individual

taxpayer identification number (ITIN}, adoption taxpayer identification number

“(ATIN), or employer identification number (EIN). However, the issuer has
-reported your complete identification number to the IRS.

Account number. May show an account or other unique number the lender _

_ -assigned to distinguish your account. /

Instructions for Borrower
Certain’ lenders who acquire an (nterest in property that was security fora loan

~ or who have reason to know that such property has been abandoned must

provide you with this statement. You-may have reportable income or loss

*, because of such acquisition‘or abandonment. Gain or loss from an acquisition

“ generally is measured by the differance between your adjusted basis in the

-- Property and the amount of your debt canceled in exchange for. the property, or,
- if greater, the sale proceeds. If you abandoned the property, you may have ~

~~ of your can

Income frorp,the discharge of Indebtedness In the amount of the unpaid balance
‘andeled debt. The tax consequences of abandoning property depend

on whether or not you were personally liable for the debt. Losses on acquisitions

. orabandonments of property’ held for personal use are not deductible. See Pub.

4681 for information about your tax consequences.
Property means any real property (such as a personal residence); any

* intangible property; and tangible personal Property that is held for investment or

used In a trade or business. -
If you Borrowed money on this property with someone else, each of you

- ‘should receive this statement.

Borrowei’s taxpayer identification number. For your protection, this form may

” show only the last four digits of your social security number (SSN), individual
"- taxpayer identification number (ITIN), adoption taxpayer Identification number

-(ATIN), ‘or employer identification number (EIN). However, the issuer has

' reported your complete identification number to the iRS.
| Account number. May show an account or other unique number the fender,

assigned to distinguish youraccount,  .

fons / 4

Box 1. For aender's ac ac isitign of property that was ‘Security fora loan, the
date shown. ‘is‘generally iy earlier of the date title was transferred to. the lender
‘or the date possession and the burdens and benefits of ownership Were
transferred to the lender. This may be the date ofa foreciosyre or execution sale
or the.date your right of redemption or objection expired. For an abandonment,
the date shown Is the date.on which the tender-first knew‘or had reason to know
that the property was abandoned or the date of a foreclosure, execution, or
‘similar Sale”

Box 2. Shows the debt (principal only) owed'ta tha lender o on the loan when the
interest in the property was acquired by the. lender or on tha date the fender first

~ ‘knew or had reason.to knot that the | » property; wag abandoned. - ,

Box 4, Shows the fair mark tvaludot. the proparty. If the amount inbox 4 is less
than-the amauint in box 2, arid your debt Is canceled, jou may have cancellation
of debt income. If thé propeltyAvas your main home, see Pub. $23 to figure any
taxable gain or drdinary i income.

Box 5. Shows whether you were personally liable for ‘rppayment oft! 4 debt
when the debt was ‘created or, if modified; when it was last modifi

Box 6. Shows the description of the property acquired by the lender. I
abandoned by you: If "CCC” is shown, the form indicates the amount of any
Commodity. Crédit; Compgration | (oan outstanding y ‘when you forfelted‘your_~
commodity.

Future developments. For the latast Inforration abut developments related to

. Form.1099-A and.its insteuctions,‘such astlegisiation. enacted after they: -were

published, go to wwuirs.gov/form1089a. .. oy

Box 4. For a lender's acquisition of property that was sacurity for a Idan, the
date shown is generally the earlier of the date title was transferred to the lender
or the date possession and the burdens and benefits of ownership were
transferred to the lender. This may be the date of a foreclosure or execution sale

‘or the data your right of redemption or objection expired. For an abandonment,

the date shown is the date on which the lender first knew or had reason to know

~ that the property was abandoned or the date of a foreclosure, execution, or

similar sale. :

‘Box 2. Shows the debt (principal only) owed to ‘the lender 0 on the oan whan the
interest in the property was acquired by the lender or on the date the lender first

"”_ knew or had reason to know that the property was abandoned.

‘Box 4, Shows the falr market value of the property. if the amount in box 4is less
than the amount in box 2, and your debt Is canceled, you may have cancellation
‘of debt income. If the property was your main home, see Pub. 523 to figure any

taxable gain or ordinary income.

Box 5. Shows whether you were personally liable for repayment of the debt
when the debt was created or, if modified, when it was last modified. !

' Box 6. Shows the descrintion of the property acquired. by, the lender or

abandoned by you. If “CCC” is shown, the form indicates the amount of any
Commodity Credit Corporation loan outstanding when you forfeited your.
commodity.

Future developments. For the latest information about developments related to
Form 1099-A and its instructions,-such as legislation enacted. after they were
published, go to: www.jirs.gov/form1099a.

no

Box 1, For a lender’s acquisition of property that was security fora loan, the -
date shown is generally the earlier of the date title was transferred to the lender
or the date possession and the burdens and benefits of ownership were
transferred to the lender. This may be the date of a foreclosure or execution sale
or the date your right of redemption or objection expired. For an abandonment,
the date shown is the date on which the lender first knew or had reason to know
‘that the property was abandoned or the date of a foreclosure, execution, or
similar sale:

Box 2. Shows the debt (principal only) owed to the lender on the loan when the
interest in the property was acquired by the lender or on the date the lender first
knew or had reason to know that the property was abandoned, .

Box 4. Shows the fair market value of the property. If the amount in box 4 is less
than the amount In box 2, and your debt is canceled, you may have cancellation
of debt Income. If the property was your main home, see Pub. 523 to figure any
taxable gain or ordinary income.

. Box §. Shows whether you were personally liable for repayment of ‘the debt

when the debt was created or, if modified, when it was last modified.

* Box 6. Shows the description of tha property acquired by the lender or

abandoned by you. If “CCC” is shawn, the form indicates the amount of any
Commodity Credit Corporation loan outstanding when. you forfeited your
commodity.

.Future developments. For the latest information about developments related to

Form 1099-A and its instructions, such as legislation enacted after they were
published, go to www.irs.gov/form1099a. : .
Case: 4:17-cr-00131-DMB-JMVReete Bar iedeQad 7/18 5 of 17 PagelD #: 331

PAYER'S name, street address, city or town, state or province, country, ZIP | Applicable check box on Form 8949 OMB No, 1545-0715°
or foreign postal code, ; and telephone.no. Proceeds From

WWE ND E uy KRAN DOA D2QO4 7 a

 

 

 

 

 

 

NG J West Geermin' Avenut. Form 1099-B | Transactions’
\ = J ta Description of property (Example 100 sh. XYZ Co:) Pn mo
Meant WS ai Snnesse — Dv rn Trai f=} Rey fu Hiotized Rept
|) COB i 1b Date acquired te Date soldior disposed _|\ EM\DE LL.
LS we 2RAN CSN
PAYER'S federal identification number | RECIPIENT'S identification number] 1d Proceeds te Cost or other basis Copy B
$ Oe For Recipient
S cS on (eh 7 a 15 Oo if Accrued market discount | 1g Wash sale loss disallowed :
$ 500, OOO, 00$

 

 

BY: Ws CUBE No Longa nt gain or loss[_]
yay hice NSE VSS 14 PP i Ordiriaty CI (-] |This-is important tax
information and is

prays nam nie oe 2 Short-term gain or loss EC] 3 If checked, basis reported
(ace eee Se cy ‘ac to IRS

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

Street address (including apt. no.) 4 Federal income tax withheld] 5 If checked, noncovered ‘ 2
aoe security being furnished to
- me hy A... é $ (J _|the internal Revenue
C4 | \ cl RS oK AY SLAC. 6 Reported to IRS: 7 lf checked, loss is not allowed Service. If you are
City or town, state or s country, and ZIP or foreign postal code Gross proceeds CI based on amount in 1d required to file a
, 7 ‘ A bert ; Net proceeds LJ L] ears ee
= Be ate c oa gael 7 enalty or other
()y Fore cae NV es S51 PI ~R/, = 8 Profit or (loss) realized in e bibremmeae of (los eats iene may be
+ - 2017 on closed ae og | :
Account number (see giao sae ’ | imposed on you if
CASGENU 4.)"IC RIS | $_ $i oe
CUSIP number FATCA filing 10 Unrealized profit or (lossyon [41 Aggregate profit or (assy | “@*A0'© Ane tne Is
. as t itp requirement open contracts—12/31/2017 | oncontracts . © «+= | ‘determines that it
(340 PAU ; C4 ad pariet pe has not been
14 Statename _ 15 State identification no} 16 State tax withheld $ : ta. “Nowe Gc= tease" aay reported.
$ 412 Check if proceeds from 13 Bartering
iota atelectasis 7 “ x Teo Stic” collectibles f |
$ O 135,000, 490.4
Form 1099-B (Keep for your records) www.irs.gov/form1 099b Department of the Treasury - Internal Revenue Service

[_] CORRECTED (if checked)
PAYER'S name, street address, city or town, state or province, country, ZIP | Applicable check box on Form 8949 OMB No. 1545-0715 | Proceeds From

or foreign postal code, and telephone no.
Pe P 9) 0 4 7 Broker and
Barter Exchange
Form 1099-B Transactions

 

 

 

1a Description of property (Example 100 sh. XYZ Co.)

 

 

 

 

 

1b Date acquired ic Date sold or disposed
PAYER'S federal identification number | RECIPIENT'S identification number] 1d Proceeds te Gost or other basis Copy B
$ Saas For Recipient
if Accrued market discount | 1g Wash sale loss disallowed :
$ $
RECIPIENT'S name 2 Short-term gain or.loss [_] | 3: If checked, basis Cepouaey

to IRS.
Long-term gain or loss[_| %

Ordinary ie 2] | This is important tax
information and is

 

 

 

Street address (including apt. no.) 4 Federal income tax withheld] 5 If checked, noncoveted : |
security a being furnished to
$ =) _|the Internal Revenue
6 Reported to IRS: 7 If checked, lossiis notallowed Service. If you are

: de : :
City or town, state or province, country, and ZIP or foreign postal code Gross proceeds Cl based:on amountin.td required to file a
return, a negligence
Net proceeds [i

 

   

z a -penalty or other.

8 Profit or (loss) realized in. 9 ®nal } ee may be
; 7 POOR oe ee et ; eae contracts-12/31/2016] . ;

Account number (see instructions) DEITIES ACN MOT ONT IU imposed on you if

 

 

 

 

   

 

 

 

 

 

 

 

 

$ this income is
- ‘taxable and the IRS.
CUSIP number FATCA filing 10 Unrealized profit or (loss) on” : ; ; :
é requirement _ open contacts 2i/007 | determines that it
CJ re is Ln Ro ioc -has not been
14 State name 15 State identification no} 16 State tax withheld Bi ee 0 hy yas me, etaunie elo es reported.
$ 12 Check if proceeds from 13 Bartering
SoU eecsceastasesedene $ -=---- collectibles Ol $

 

 

 

Form 1099-B (Keep for your records) www.irs.gov/form1099b Department of the Treasury - Internal Revenue Service
Case: 4:17-cr-00131-DMB- SIM Dog #: 798. Filed: 04/17/18 6 of 17 PagelD * 332

Instructions for Recipient

Brokers. and barter exchanges:must report proceeds from (and in some
cases; basis for),trarisactions fo you and the IRS on Form 1099-B.
‘Reporting.is also required when your broker knows or has reason to
know that.a corporation Art Which you own stock has had a reportable
change in contro! or capital structure. You may be required to’:
recognize gain from the-recelpt of cash, stock;:or other property that.

was exchanged for the corporation "s'stock. If your: broker repérted this ” -

: typeof transaction to-you, the corporation is ideiitified in box 1a.”

, Recipient's taxpayer identification number. For your protection...
this form may show only the last four digits of your social security ~
number (SSN), individual taxpayer identification number (ITIN),
adoption taxpayer identification number (ATIN),-or employer: -

identification number (EIN): However, the issues-has reported your
complete identification number to the IRS. { wo RL eY

Account number. May show an.account or other unique number the .

payer assigned to distinguish your account.

CUSIP number. Shows the CUSIP (Committee on; Uniform Security...
Identification Procedures)- number or other applicableidentifying
number.

FATCA filing requirement. If the FATCA fiting requirement.box is.
checked, the payer is reporting on this Form 1099 to satisfy its
chapter 4 account reporting requirement. You also-may have a filing
requirement. See the Instructions for Form 8938. |

Applicable:‘check box-on Form 8949. Indicates where to report this “

transaction on’ Form 8949‘and. Schedule D, ‘and which check box i is.
applicable. ‘See the instructions for your Schedule D and/or Form
8949, .

Box 1a. Shows'a brief dégeiiption of thé Item.or service for which, :
amounts are being reported. For regulated futures contracts and: :
forward contracts, “RFC” or other appropriate description may be
shown:For Section 1256 option contracts, “Section 1256 option” or
other appropriate description may be shown..For a corporation that .
had a reportable change in control or capital structure, this box may ©
show the class of stoc! uC {eoriman), P {préferred), or O. (othe.

Instructions for Recipient . .~

Brokers ahcibarter exchanges must report proceeds from (and in some

cases, basis for) transactions to you and the IRS an Form 1099-B.
Reporting is also required when your broker knows or has reason to
know _that a corporation in which you.own stock has had a reportable
change in contro! or capital structure. You may be required to
recognize gain from the receipt of cash, stock, or other property that

was exchanged for-the corporation's stock.-If your broker reported-this -. -

type of transaction to you, the corporation Is Identified in box 1a.

Recipient's taxpayer identification number. For your protection,
this.fomi may show only the last four digits:of your social security -
number (SSN), individual taxpayer Identification number (ITIN),
adoption taxpayer identification number. {ATIN), of employer
identification number (EIN). However, the issuer has reportéd your
complete identification number to the IRS.

Account number. May show an account or other unique number the .
payer assigned to distinguish your account.»

CUSIP. number. Shows the CUSIP (Committee on Uniform Security
Identification Procedures) number or other applicable identifying: -
number...

FATGA: filing requlrement, Ifthe FATCA filing requirement box is .
checked, ‘the payer Is reporting on this Form 1099 to satisfy Its
chapter 4-account reporting requirement. You also may have a filing
requirement. See the Instructions for Form 8938.

Applicable check box on Form 8949: Indicates where to report this
transaction on Form 8949 and Schedule D, and which check box is
applicable. See the:instructions for your Schédule D and/or Form
8949,

Box ta, Shows a brief description of the item or service for.which ,
amounts are being-reported. For regulated futures contracts and
forward contracts, “RFC” or other appropriate description may be

shown. For Section 1256 option contracts, “Sectidn 1256 option” or ...

other appropriate description may bé shown. For a corporation that
had a reportable change in contro! or capital structure, this box may

show the class of stock as C (common), P (preferred), or O (other).

we

Me : wae!

| Box 4b. This box may be blank if box Si is ; checked o or rif the coopiities
" sold were acquired Gn a variety of dates. For short sales, the,date:
.. Shown is the date you acquired the security delivered to close the |
* short sale. 4 “oe

Box 1c. Shows the trade date of the sale or exchange. For short
sates, the date shown is the date the security was delivered to'close
the short sale. For aggregate reporting in boxes 8: through 1 "1, no entry
‘ will be present.

Box 1d. Shows the cash proceeds, reduced by any commissions. or

transfer taxes related to the sale, for transactions involving stocks,
debt, commodities, forward contracts, non-Section 1256 option.
contracts, or securities futures contracts: May show the proceeds ,
from the disposition of your interest(s) in a widely held fixed

 

-* invastment trust. May. also show-the aggregate amount of-cash and

3

the fair market-Value/of any stock of-gthey property received in a;
reportable change i in, contro! orcapital structure‘arising from the’.
. coyporate’ transfer of property toa foreian corporation. Losses on |

.-; forward. contracts or-non-Section1256 option coritracts are shown in

parentheses. This box does not include prodéeds from régulated
futures contracts or Section 1256 option contracts. Report this

“+ amount on Form 8949 or on Schedule D (whichever i is applicable) a as
Mo explained dn the Instructions for-Schedule D, ~- -

Box 1e. Shows the cost of other basis of securities sold. If the
’ securities were acquired through the exercise of a noncomipensatory
-Option granted or.acquired on-or after January 1, 2014, the basis has
—~bgen adjusted to reflect your option premium,, Ifthe s securities were
; acquired through:the exercise of a noncompensatory option granted
"_ or acquired before Janary'1, 2014, yout brokér'is permitted, Bu but not
“ required, to adjust the basis to reflect your option premium. Ifthe: -
securities were acquired through the exercisd of a compensatory
"-option, the basis-has.not been adjustdd to-indlude-any amoutntrelated

+1 to the option that was reported to you ‘on a Form W-2.\If box Sis’

checked, box te may be blank. See the Instructions for Form 8949,
Instructions for Schedule D, or Pub. 550 for details. :

. . (instructions continued on the back of Copy 2.)

Dae

Box 1b. This box may be blank if box 5 is checked or if the securities
sold were acquired on a variety of dates. For short sales, the date .

: Shown is the date you acquired the security delivered to close the -

. short sale.

Box 1c. Shows the trade date of the sale or exchange. For short:
' sales, the date shown is the date the security was delivered to close

‘ the short sale. For aggregate reporting in boxes 8 through 11, no anty
_ will be present.

: Box 1d. Shows the cash proceeds, refuged by any’ commissions o or
' trarisfer taxes related to the'sale, for transactions involving stocks, .

: dabt, commodities, forward contracts, non-Section 1256 option - :
contracts, or securities futures contracts. May show the proceeds
. from the disposition of your interest(s) in a widely held fixed
" investment trust. May.also show the aggregate amount of cash. and
: the fair market value of any stock or other property received in a’
reportable change in control or capital structure arising from the

’ corporate transfer of property to a foreign corporation. Losses on

_. forward contracts or.non-Section 1256 option contracts are.shown in

. parentheses. This box does not include'proceéds from’ regulated:
' futures contracts or Section 1256 option contracts. Report this

“- amount on Form 8949 or on Schedule D (whichever is applicable) as

explained in the Instructions for Schedule D..

Box 1@. Shows the cost or other basis of securities sold: it the i
’ securities were acquired through the exercise of a noncompensatory
- option granted or acquired on or after January 1, 2014, the basis has
. been adjusted to reflect: your option premium, If the securities, were
acquired through the exercise of a nohcompensatory option’ granted
or acquired before January 1, 2014, your broker Is permitted, but not
- required, to adjust the basis to reflect your option premium. {f:the,;
securities were acquired through the exercise of a compensatory
option, the basis has.not been adjusted.to include any amount related
«| to the option that ‘was teported to you'on a' Form W-2: If box 5 is
: checked, box 1e may be blank. See the Instructions for Form 8949,
Instructions for Schedule D, or Pub. 550 for details.

(instructions continued on the backof Copy 2)
© VVC a Ci bre, hi reas Farle owes Doc #: 55 Filed: oait7/1 ,
Near Ulla Tera MT
fib] West. Georg 10 A VERN ye 7017 1070 o000 7042 0338

M eMphis / Tennesse ee. Sede ‘fe by hes

 

 

(3 2 | 5 sy U.S, POSTAGE
Le CLEVELAND, MS
SUPE. eer
| $
| me 38655 4.45

Wailea Shales utes heer the
Novr-thern “Dis eat ot Mississipp
AHenthaw File Clerk.

Federal Buil dling Reon 269

MS. Dis tric £ Eounk of MS

Fi) “Jackson , Avenue Eas -

O xforel, MS S065 5

|
Case: 4:17-cr-00131-DMB-JMV Doc #: 55 Filed: 04/17/18 8 of 17 PagelD #: 334
RECEIVED

APR 16 2018

January 23, 2018 UNITED STATES DISTRICT coy
RT
NORTHERN DISTRICT OF MISSISSIPP}

  

POSES LATi2? aM
Omari Ibrahim El Bey

Non- Resident/ Non-domestic/ Non-Assumpsit/ TDC

In Care Of: ([16] West Georgia Avenue

Memphis, Tennessee state Republic [38103] TDC)

a temporary mailing location

Michael P, Mills dba MICHAEL P. MILLS DISTRICT JUDGE MICHAEL P. MILLS
Fed. Bidg. 369 THE U. S. DISTRICT COURT OF MISSISSIPPI. 911 Jackson Ave
East Oxford, MS 38655

RE: Wendell STEPHEN BRANDON©™, ACCOUNT NO. 587652888

Appointment of Fiduciary

|, Omari Ibrahim El Bey “ Third Party Interest intervener, “ having terminated the
previous fiduciary to the corporate entity ( ens legis), a documented vessel under United States
registry, otherwise described as WENDELL STEPHEN BRANDON©™, or any alphabetical or
numerical variation thereof, nunc pro tunc,said entity having as it’s trustee the Secretary of
Transportation of the United States pursuant to and in accordance with [ Title 46 App.U.S.C. §
1247] and there being no living sentient being responsible to accept service of process or other
documents, and cannot achieve parity with real people. Therefore |, Omari Ibrahim E] Bey,“
Third Party Interest Intervener”, hereby nominate and do appoint Michael P. Mills dba
DISTRICT JUDGE MICHAEL P. MILLS as being qualified to fulfill the position of “ Fiduciary
Creditor and Fiduciary Debtor” for the corporate entity described above in all- capital-letter
assemblages, the same to be effective immediately as of the set forth below, and shall
continue until further notice or reappointed, substitution or cancellation, within the venue as
ordained and established by We the People, through their original Organic Constitution (s).

Whereas, said Fiduciary creditor’s responsibilities are to exercise scrupulous good faith and
candor towards, and for the benefit and on the behalf of Omari Ibrahim El Bey, “Third Party
interest Intervener” , the exclusive and limited purpose of accepting and receiving all liabilities,
accepting and receiving all service of progress and other documents, instruments, bonds or
other important papers, to appear and discharge, settle and close all matters materials to the
above referred in all-capital-letter-assemblages, the same shall be by order of Omari Ibrahim El
Bey, “ Third Party Interest Intervener”, or other delegated appointee of Omari Ibrahim E! Bey,
Third Party Interest Intervener” including assignments for or on behalf of the principal,
WENDELL STEPHEN BRANDON©™ XXX-XX-XXXX including any alphabetical or numerical
variation thereof as described above, and to do all other acts requisite to faithfully execute said
appointment fully, faithfully, specially under this appointment.
Case: 4:17-cr-00131-DMB-JMV Doc #: 55 Filed: 04/17/18 9 af 17 FagelD #: 335
O42 Pese

OE i gee 1s}

 

O2T2/ALE LS 27 Ae

Fiduciary Creditor, Michael P. Mills dba DISTRICT JUDGE MICHAEL P. MILLS,
is hereby authorized to use the private exemption of Omari Ibrahim E! Bey,i.e.
WENDELL STEPHEN BRANDONO™ XXX-XX-XXXX for the adjustment and set-off of all
matters with regards to the Internal Revenue Service account numbers XXX-XX-XXXX, which have
previously been Accepted For Value, and Returned for Settlement,
Closure and Discharge. Michael P. Mills dba DISTRICT JUDGE MICHAEL P. MILLS is to
issue the appropriate IRS 1099 forms and to be in compliance with all revenue requirements in
this matter timely. Omari Ibrahim El Bey, “Third Party Interest Intervener” asseverate that
the facts enumerated herein are set forth in good faith with clean hands and that the same are
true, correct, complete and not misleading, so certified without the United State.

DUTIES OF THE FIDUCIARY
The Principal hereby directs the fiduciary to perform the following duties within
Ten (10) days of the postmark of this Contract:
(1) Pursuant to the Form 91, the Fiduciary is hereby directed to use the personal property
release form escrow exclusively for the settlement,
(2) Setoff, and/ or discharge of any debts, obligations, or liabilities associated with the
Account
(3) The Fiduciary is hereby directed to negotiate, endorse, and/ or ledger the Instruments for
the settlement, setoff, and/or discharge of any and all debts, obligations, or liabilities
associated with the account for the benefit of the Beneficiary.
(4) The Fiduciary I hereby directed to ledger the Information Return against the Account for
the Financial Institution.
(5) The Fiduciary is hereby directed to issue a Statement of Account showing a Zero ($0.00)
- dollars balance for the Account to the Principal.
(6) The Fiduciary is hereby directed to release any and all funds and/or assets remaining after
the setoff, settlement and closure of the Account to the Principal.

ACCEPTANCE AND REFUSAL
This contract shall be deemed accepted by the Fiduciary if refusal to the appointment,
authorities, and duties is not received by the Principal at the address given above within ten (10)
days of the postmark of this Contract. Any refusal of this Contract must be accompanied bya
sworn affidavit, signed under penalty of perjury, stating that the Fiduciary Note have the
capacity, authority, obligation, and duty to:
(1) Setoff, settlement and close the Account
(2) Accept an appointment as Fiduciary
(3) Negotiate, endorse, or ledger the Instruments against the Account for the benefit of the
Beneficiary.
(4) Perform the duties as the custodian pursuant to the form 91.
(5) Ledger the Information Return against the account held by the financial
Institution for the benefit of the Beneficiary.
(6) Issue a Statement of Account showing a Zero (0.00) dollar balance for the
(7) Account to the Principal. If the Fiduciary need additional time to perform the duties set
forth in this contract the Fiduciary may request said additional time by written request to
the Principal within the (10) days from the postmark of the contract and said request must
 

provide good cause. Any requests for additional time not exceed thirty (30) days from the
postmark of this Contract. The Principal reserves the right to deny any requests for
addition time.

LIABILITY OF THE FIDUCIARY
The Fiduciary’s failure to perform the duties set forth in this Contract, within the time allotted to
perform said duties, will comprise the Fiduciary‘s agreement to following:

(1) The Fiduciary waives all rights defenses and immunities:

(2) The Fiduciary accepts personally liability up to ten (10) times the face value of
Instruments.

(3) The Fiduciary accepts the filing of IRS Form 3949a. Information Referral, with the
Internal Revenue Service for the Fiduciary’s violation of income
tax law.

(4) The Fiduciary accepts the filling of any documents and public records reporting the lien
right of the Principal in relation to the Fiduciary breach of this contract.

(5) The Fiduciary accepts that the Fiduciary ‘s public hazard bond and/or limited insurance
policy shall be surety for any liens or levies executed by Principal for the Fiduciary ‘s
breach of this Contract.

(6) The Fiduciary accepts that the Fiduciary’s real property, personal property,

Fixtures and accounts shall be surety for any liens or levies executed by the Principal for
the Fiduciary’s breach of this Contract.

I, Omari Ibrahim El Bey, “Third Party Interest Intervener” asseverate that the facts enumerated
herein are set forth in good faith with clean hands and that the same are true, correct, complete
and not misleading, so certified without the United States.

in) 35 ng

~,

 

 

 

 
Case: 4:17-cr-00131-DMB-JMV Doc #: 55 Filed: 04/17/18 11-9f 17-PagelB # :337

 

other important papers, is to appear and discharge, settle and close all matters material to above referred SECURED
PARTY-CREDITOR in all-capital-letter-assemblages; the same shall be by order of Omari Ibrahim El Bey, “Third
Party Interest Intervener,” or other delegated appointee of Omari Ibrahim El Bey, “Third Party Interest Intervener,”
including assignments for or on behalf of the principal SECURED PARTY-CREDITOR, WENDELL STEPHEN
BRANDON , including any alphabetical or numerical variation thereof as described above, and to do all other acts
requisite to faithfully execute said appointment, fully, faithfully, specially under this appointment.

Fiduciary Creditor, WILLIAM C. LAMAR, USA, THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF MISSISSIPPI, is hereby authorized to use the private exemption of Omari Ibrahim El
Bey, or WENDELL STEPHEN BRANDON, XXX-XX-XXXX, for the adjustment and set-off of all presentments, with
regard to the INTERNAL REVENUE SERVICE Account Number XXX-XX-XXXX, which has previously been Accepted
For Value and Returned for Settlement, Closure, and Discharge as per orders. WILLIAM C. LAMAR, USA, THE
UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF MISSISSIPPI is to issue the
appropriate Notice Concerning Fiduciary Relationship Form 56 and to be in compliance with all revenue requirements
in this matter timely.

I, Omari Ibrahim El Bey, “Third Party Interest Intervener,” asseverate that the facts enumerated herein are set forth in
good faith with clean hands and that the same are true, correct, complete, and not misleading, so certified without the
UNITED STATES. Fiduciary has my authorization to make any and all changes necessary to bring this document into
complete and lawful compliance.

 

Date: of 3I/ IZ

LS:

Omari Ibrahim El Bey
Secured-Party, Authorized Agent For:
WENDELL STEPHEN BRANDON, ENS LEGIS,
DEBTOR

  
  

c/o Omari Ibrahim El Bey
Washitaw Terra ([16] West Georgia Avenue
Memphis, Tennessee state Republic [38103]) /TDC
All Rights Reserved

Non-Domestic without the US
Case: 4:17-cr-00131-DMB-JMV Doc #: 55 Filed: 04/17/18 12 of 17 PagelD #: 338

 

 

Fe om 38 , Notice Concerning Fiduciary Relationship OMB No. 1888-0013
Pepartmentort ine rreasury (Internal Revenue Code sections 6036 and 6903)

identification

Name of person for whom you are acting (as shown on the tax return) identifying number Decedent's socia! security no.
WENDELL STEPHEN BRANDON™©® XXX-XX-XXXX

 

 

 

Address of person for whom you ase acting (number, street, and room or suite no.)
1500 Pennsylvania Avenue, NV

City or town, state, and ZIP cade (Ifa foreign address, see instructions.)

Washington, D.C. 20220
DISTRICT JUDGE MICHAEL P. MILLS

Address of fiduciary (number, street, and room or suite no.)

Federal Building Rm. 369, U.S. DIST. CT. OF MISS. 911 JACKSON AVE. EAST

City or town, state, and ZIP code Telephone number (optional)

OXFORD, MS 38655 ; )

Section A. Authority

 

 

1 Authority for fiduciary relationship. Check applicable box: BODE alia Page Tx

(1 Court appointment of testate estate (valid will exists) Misc

(1 Court appointment of intestate estate (no valid will exists) D2A2/2hS LLSRaT a
(J Court appointment as guardian or conservator

(1 Valid trust instrument and amendments

{J Bankruptcy or assignment for the benefit or creditors

Pao ang®

 

Section B. Nature of Liability and Tax Notices

 

3 Type of taxes (check all that apply): ((] Income [] Gift (] Estate ( Generation-skipping transfer [] Employment
(J Excise (] Other (describe) >

 

4 Federal tax form number (check all that apply): al] 706 series bC] 709 cf] 940 df] 941, 943, 944
e(] 1040, 1040-A, or 1040-EZ f[] 1041 gf} 1120 nL Other (list) >

 

5 If your authority as a fiduciary does not cover all yearsor tax periods, check here. . . 2...) eG
and list the specific years or periods >

6 Ifthe fiduciary listed wants a copy of notices or other written communications (see the instructions) checkthisbox. . . . > O
and enter the year(s) or period(s) for the corresponding line 4 item checked. If more than 1 form entered on line 4h, enter the
form number.

Complete only if the line 6 box is checked.

 

 

 

 

 

 

if this item Enter year(s) or period(s) if this item Enter year(s) or period(s)
4a 4b
4c 4d
4e 4f
4g 4h:
4h: 4h:

 

 

 

 

 

 

 

For Paperwork Reduction Act and Privacy Act Notice, see the separate instructions. Gat No. 16375! Form 96 (Rev. 12-201 1)
Case: 4:17-cr-00131-DMB-JMV Doc #: 55 Filed: 04/17/18 13 of 17 PagelID #: 339

 

 

 

 

 

 

 

 

 

 

Form 56 (Rev. 12-2011) Page 2
‘isaie Court and Administrative Proceedings
Name of court (if other than a court proceeding, identify the type of proceeding and name of agency) Date proceeding initiated
U.S. DISTRICT COURT NORTHERN COURT OF MISSISSIPPI
Address of court Docket number of proceeding
911 JACKSON AVENUE EAST 4:17CR131
City or town, state, and ZIP code Date Time [] am. Place of other proceedings
OXFORD, MS 38655 a [_] p.m.
EM wSignature XChnany, Miidhcer 20 (hay tyler. reprecchson Poe WENCEUL EA VDON
I certify that | have the atitherity fo execute this notice concerning fiduciary
Please ign Here relationship on behalf of the taxpayer. G /3
| p DISTRICT JUDGE

 

Fiduciary’s signature Title, if applicable Date

 
Case: 4:17-cr-00131-DMB-JMV Doc #: 55 Filed: 04/17/18 14 of 17 PagelID #: 340

yf"

eet nel |

  
   
 

Omari Tbrahin. E! a |
En Caue, of: [iw] at, Mtorgre) Duset
Memphiay Jenmesser 3 tat h pubhe

is are a = INN cto |
“s PSU |

93655 D4. ' 66

R2305K1321 47-06

NU

 

 

 

 

 

 

 

 

 

 

 

 

 

 

POL? LOPO OOOO PO4e O35e

G/] Owe kson Gi, Cam)
J xforal 39655

Alife PAL Py lb ila: |
Case: 4:17-cr-00131-DMB-JMV Doc #: 55 Filed: 04/17/18 15 of 17 PagelID #: 341

 

 

yr!
ae f
aoe —
ay

tie Be

eee

wi
Case: 4:17-cr-00131-DMB-JMV Doc #: 55 Filed: 04/17/18 16 of 17 PagelD #: 342
RECEIVED

APR 16 2018

UNITED STATES DISTRICT COURT Secured Party/ Creditor
NORTHERN DISTRICT OF MISSISSIPPI Omari Ibrahim El Bey i nh
Temporary Mailing Location: ([16] West Georgia A Avenue
Memphis, Tennessee state Republic [38103] TDC)
Non-Resident / Non-Domestic / Non-Assumpsit

January 23, 2018

UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF MISSISSIPPI

RE: INDICTMENT CRIMINAL CASE NO. 4:17CR131
SCHEDULED COURT PROCEEDING,

Please enter this into the file.
Notice of Special Visitation

Notice is hereby given that I, Omari Ibrahim El Bey, a living, breathing yyvam. invoke
Special Visitation rights as titled Super Plaintiff/Respondent and that I have a superior
claim in the matter at hand. Now and forever I am a sovereign, and I reserve all of my
unalienable rights.

Please be advised that I, Omari Ibrahim El Bey, the creditor, am the Authorized
Representative and the Executor for the STRAWMAN, WENDELL STEPHON
BRANDON, the debtor, I will be there as a fertius interveniens in the above referenced
matter. I will be there only as a third-party intervenor in what I see as a dispute of Title,
to conduct my public business as the Holder-In-Due-Course of the STRAWMAN charged.

I am the Creditor and Secured Party with regard to the person charged, and the
documents enclosed and in the file, verify that I have already discharged the obligation in
this matter, and that the Plaintiff has no superior claim.

Based on these facts and the supporting documents in evidence, I will request and do
request that the account be adjusted, the case be closed, and the order of thé Court be
released to me immediately.

Onan: bibhe. @ he, ayps
Omari Ibrahim El Bey
enclosures

 
i }
CD Mari P

 

 

 

 

Sere say Pay ey pf)
bl Bashi faire QO AgbHMB-IMV Doc ‘p> Elle
Near es pi
Lite] West Georgi Oveuu e. 7017 1070 OOOO 7042 o420
MeMplus oka ssee site Rebubie
3803] = vrs
cual AP AMOUNT
i 38655 a 49

United Slotes pe be. ee! for se

Northern District io LSSissi pp 1
Pisce, as Fale Clerk e |
Federal Building hoon 349

AS. Dishie b Mh b of 1/8

oy Jackson Avenue Est
Oxfrel, MS 38055
